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                     UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                                Eastern Division

Isidro Marquez
                                     Plaintiff,
v.                                                      Case No.: 1:17−cv−02248
                                                        Honorable Gary Feinerman
Crana Services, LLC, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 11, 2017:


        MINUTE entry before the Honorable Gary Feinerman:Plaintiff has informed
Chambers that he does not oppose 21. Defendants' motion pursuant to FRCP Rule
60(b)(5) for relief from a judgment or order [21] is granted. The 7/6/2017 judgment [20] is
vacated. This case remains closed.Motion hearing set for 9/14/2017 [22] is
stricken.Mailed notice.(jlj, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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